Case 2:05-cV-02052-STA-tmp Document 11 Filed 07/18/05 Page 1 of 2 Page|D 19

    
   

  
 

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IN THE UNITED sTATEs DISTRICT COURT - -» .C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05
wEsTERN DIvIsIoN JUL l8 AH 3: 55
mUM?v '
RAMONA HILLMAN, CLER!{ [_I,g,b fi'[§rq?lo%wm
W/D Q.": 5 n_&b_;p;,;jg

Plaintiff.
vs. Civil No. 05-2052-B
SHELB`Y COUNTY

Defendants.

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ORDER DEN'YING DEFAULT JUDGMENT

 

On July 12, 2005, plaintiff filed a Motion for Default
Judgment against the defendant, Shelby County.

In accordance to FRCvP, Rule 55(a), the moving party must
request an entry of default by the clerk.

In compliance to FRCvP 55(a), default judgment against the
above-named defendant is DENIED.

Entered this 18th day of July, 2005

THOMAS M. GOULDlr

Clerk of Court
BY,M;UM?M>

Deputy Clerk

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STATES DISTRICT oURT - WESTRNE ISRICT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CV-02052 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

Ramona Charmel Hillman
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Memphis7 TN 38125

M. Dell Stiner

THE WHARTON FIRM
147 Jefferson Avenue
Ste. 1205

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

